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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


LBS INNOVATIONS
     .          LLC                                §
                                                   §
V.                                                 §           NO. 2:11CV407
                                                   §
BP AMERICA, INC., ET AL.                           §


                                      ORDER OF RECUSAL


          The undersigned hereby recuses himself with regard to the above entitled and numbered civil

action.     SIGNED this 19th day of December, 2011.
           So ORDERED and SIGNED this 3rd day of January, 2012.




                                                              ____________________________________
                                                              RODNEY GILSTRAP
                                                              UNITED STATES DISTRICT JUDGE
